           Case 3:19-cv-00052-LRH-CBC Document 1-2 Filed 01/31/19 Page 1 of 6

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 1   CASE    NO.               CV                                R77'"



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                                                                 C). 4010, : vuujli Clark               CLERK
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                                                                                                   G® ELE±'UTY
 5           IN       THE   NINTH       JUDICIAL          DISTRICT       COURT       OF     Z .    STATE OF      NEVADA


 6                                       IN    AND    FOR    THE    COUNTY        OF      DOUGLAS


 7

 8

 9   KELLY       D.    STEPHENSON,             an                         CIVIL        COMPLAINT          FOR   NEGLIGENCE
     individual;             and       CHRISTINE
10   STEPHENSON,             an    individual,


11                                     Plaintiff,


12                           VS.



13   GARDNER          TRUCKING,          INC.,       a
     California             corporation;             GARDNER
14   TRUCKING          INC.,       a    Nevada
     corporation;              JOSEPH         P.
15   HOLLINGSHEAD,              an individual;
     and DOES 1             through 50,
16   inclusive,


17                                     Defendants.
                                                             J
18

19           COME       NOW       PLAINTIFFS,             by and through their undersigned counsel,

20   and    file       this       Complaint          against       the     above- named            Defendants,

21   averring and alleging as follows:

22                                                               PREFACE


23           1.        This       case    arises          from   Defendant           JOSEPH        P.    HOLLINGSHEAD'    s


24   negligence,             negligence             per    se,   and     violation           of    NRS    484B. 257,   while


25   in    the    course          and    scope       of    his   employment               for the other defendants.

26                                                 JURISDICTION          AND    PARTIES


27           2.        This       case    and controversy arises under the                                substantive

28   laws    of       the    State       of    Nevada.
            Case 3:19-cv-00052-LRH-CBC Document 1-2 Filed 01/31/19 Page 2 of 6



              3.     Plaintiffs             are       husband           and wife             and       are       citizens          and

     Iresident       of    the    State of Nevada.

              4.     Defendant,             JOSEPH           P.    HOLLINGSHEAD,                      is    a    citizen          and

      resident       of    the    State          of    California.


              5.     At    the    time       of       the     event             described             herein,             Defendant,


      GARDNER       TRUCKING          INC. (      GARDNER              NV),       was    a       Nevada          corporation.                 At


      the   time     of    the    event          described herein,                       Defendant,                   GARDNER

 8   TRUCKING,        INC. (      GARDNER             CA),        was       a    California                corporation,                which       is

 9    not   registered           to    do    business              in       Nevada.              On information                   and

10   belief,        GARDNER CA          or       GARDNER NV employed                             defendant                HOLLINGSHEAD             at

11   the    time     of    the    event          described              herein.


12            6.     The       true    names          and/ or          capacities                of    Defendant             DOES       1

13   through        50,    are    unknown             to     Plaintiffs,                who       therefore                cannot

14   identify them at this time.                                  When          the    true       identities                and/ or

15   capacities           of    DOES    1    through              50    are       ascertained,                   Plaintiffs             will


16   seek     leave       of    court       to    amend this. Complaint                               to    reflect          the       same.

17            7.     Plaintiffs             are       informed              and       believe,             and    based          thereon

18   allege,        that       each    of    the       Defendants                 is,    and          at    all       times       herein

19   mentioned        was,       the    agent,             servant,              and employee of each of the

20   remaining Defendants,                       and       each        of       the    acts       or       failures          to    act      of

21   each    of     the    Defendants,                as     herein             alleged,         was       within           the    course


22   and scope of each                 such Defendant' s                         authority as                   such agent,

23   servant,        and       employee,          with        the       permission,                   consent,             knowledge,

24   prior        authorization,             and       subsequent                 ratification                   of       each    of    the


25   remaining Defendants.

26                                                FIRST           CAUSE          OF    ACTION


27                                    Negligence              against             all    Defendants)


28           8.      Plaintiffs             re -allege            Paragraphs                 1   through              7   and


                                                                            2-
           Case 3:19-cv-00052-LRH-CBC Document 1-2 Filed 01/31/19 Page 3 of 6



 1   incorporate same herein by reference,                                     as though expressly set forth

 2   herein.


 3           9.         On January 4,               2018,    at approximately 12: 17 p. m.,                        Defendant


 4   JOSEPH       P.     HOLLINGSHEAD,               while       in    the    course    and     scope     of   employment


 5   with    one        or   more        of   the    Defendants,             failed    to   yield    at      the


 6   intersection of                 Industrial Way and U. S.                      Highway 395,         in


 7   Gardnerville,                 Nevada.


 8           10.         Defendant            JOSEPH    P.       HOLLINGSHEAD,          thereby negligently

 9   collided the 2010 Freightliner Tractor Trailer he was driving into

10   Plaintiff' s trailer being towed at approximately 45 miles per hour

11   by his 2015 Toyota Tacoma Pickup,                                  causing the trailer to then crash

12   into a 2007 Toyota Tundra Pickup.

13           11.         In negligently failing to yield before entering the

14   subject highway,                    Defendant      violated             NRS    484B. 257    and was       therefore


15   negligent per se in causing the subject accident.

16           12.         Defendant            JOSEPH    P.       HOLLINGSHEAD was             found by the Nevada

17   Highway Patrol to be the only party at fault for causing the

18   aforesaid           accident.



19           13.         By reason of the subject accident and negligence,                                            as



20   aforesaid,              and    as    a   direct    and       proximate          result     thereof,       Plaintiff


21   KELLY    D.        STEPHENSON received injuries consisting of,                                     but     not

22   limited           to,    lumbar disk bulging;                     lumbar       spondylolisthesis;              lumbar


23   spondylosis;              lumbar radiculopathy;                        lumbar    stenosis;      and       right       foot


24   drop.         In addition to requiring physical therapy,                                     these        injuries

25   required the              following surgeries:                         posterior       lumbar   decompression

26   with laminectomy,                    partial facetectomy,                     and foraminotomy at L4 and

27   L5;    posterior              spinal      fusion       at    L4- 5;      local    autologous         bone      graft;

28   and    bone        marrow       aspiration         of       the    left       posterior     ilium.


                                                                       3-
            Case 3:19-cv-00052-LRH-CBC Document 1-2 Filed 01/31/19 Page 4 of 6



 1            14.         As    a    direct       and       proximate          result       of    Defendants,

 2    negligence,              as    herein       alleged,          Plaintiff          KELLY       D.    STEPHENSON             was


 3    required to and did employ physicians and others for medical

 4    examination,              treatment             and    care       of    his    injuries,          and    did       incur

 5    medical           and    incidental             expenses,          which shall be shown according to

 6    proof        at    the    time       of    trial.


 71           15.         As    a    further,          direct       and       proximate          result       of    the


 8'   Defendants,              negligence,             as    herein          alleged,       the    injuries          thus


 9    received by Plaintiff KELLY D.                                STEPHENSON greatly impaired his,

10    health,           strength,          and    activity,             and caused          him    great       mental,

11    physical,           and       nervous       pain       and    suffering,          and       shock       to    his    nervous

12    systems,           damaged his earning capacity and causing loss of wages,

13    all    in     an    amount,         which shall be shown according to proof at the

14    time    of        trial.


15                                                 SECOND       CAUSE         OF    ACTION


16                             Loss       of    Consortium          Against          all    Defendants)


17            16.         Plaintiffs             re -allege         Paragraphs          1    through          15    and

18'   incorporate same herein by reference,                                         as though expressly set forth

19    herein.


20            17.         By reason of the                   aforesaid negligence,                      as    set    forth


21    herein,           and    as    a    direct       and    proximate             result       thereof,          Plaintiffs


22    KELLY        D.    STEPHENSON             and    CHRISTINE             STEPHENSON,          husband          and wife,

23    suffered           and    continue          to    suffer          loss    of    consortium,             society,

24    companionship,                 and    natural          and    physical          affection,             due    to    the


25    injuries           suffered          in    the    accident.

26            WHEREFORE,                 Plaintiffs          prays       for    judgment          against          the

27    Defendants,              and       each    of    them,       as    follows:

28            1.         For    damages          in    excess       of $ 15, 000. 00;
         Case 3:19-cv-00052-LRH-CBC Document 1-2 Filed 01/31/19 Page 5 of 6



 1         2.   For punitive damages according to proof;

 2         3.   For reasonable attorney' s fees and expenses;

 3         4.    For costs of investigation and litigation reasonably

 4         incurred;


 5         5.    For   prejudgment      interest;

 6         6.    For   costs    of   suit   herein      incurred;         and,



 7         7.    For   such other relief          as    the    court deems           just    and proper.

 8    Dated:    October   18,    2018              SULLIVAN        LAW
                                                   A    Professional              Corporation
 9

10

11
                                            By:
                                                   Gene
                                                       ltv, / 0/
                                                              M.   Kau   m    n


12                                                 Attorneys            for   Plaintiffs


13'                                                1625       State      Route      88, #   401
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          Case 3:19-cv-00052-LRH-CBC Document 1-2 Filed 01/31/19 Page 6 of 6



 1                            AFFIRMATION PURSUANT        TO   NRS   239B. 030

 2          I,    Gene   M.   Kaufmann,     affirm that the pleading( s)            and/ or


 3     document( s)      that I am now presenting to the court in the above -

 4     entitled    action,     do   not,   to the best of my knowledge,             contain   any

 5     Social Security Number information that is in violation of NRS

 6 1239B. 030.

 7     Dated:     October     18,   2018           SULLIVAN     LAW
                                                   A   Professional     Corporation
 8

 9
                                             By:
10                                                 Gene   M.   Kaufmadfff


11                                                 Attorneys     for   Plaintiffs


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